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 3
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 5
   Attorney for Defendant
 6 HUNG CAO NGUYEN

 7

 8                                UNITED STATES DISTRICT COURT

 9                              EASTERN DISTRICT OF CALIFORNIA
10

11 UNITED STATES OF AMERICA,                   )                 CASE NO. 2:15-CR-0234-JAM
                                               )
12                     Plaintiff,              )                 STIPULATION TO CONTINUE
                                               )                 SENTENCING
13               v.                            )
                                               )                 Current date: November 7, 2017
14   HUNG CAO NGUYEN,                          )                 Proposed date: January 16, 2018
15                                             )
                       Defendant.              )
16                                             )
     __________________________________________)
17

18          COME NOW Plaintiff, United States of America, by and through its counsel of record,
19
     United States Attorney, PHILLIP A. TALBERT, and Assistant United States Attorney, JASON
20
     HITT, and the defendant, HUNG CAO NGUYEN, by and through his counsel of record,
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     DONALD M. RÉ, who do hereby stipulate as follows:
22

23          1. That the sentencing in this matter be continued from November 7 2017 at 9:15 a.m. to

24 January 16, 2018 at 9:15 a.m, in Courtroom 6.

25          This request is made in part to allow the defendant to pursue relief under the Safety Valve
26
     Provision of the U.S. Sentencing Guidelines, Sections 5C1.2 and 2D1.1.
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 1 IT IS SO STIPULATED.               Respectfully submitted,

 2 Dated: October 27, 2017            PHILLIP A. TALBERT
                                      United States Attorney
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 4

 5                                    By:       /s/
                                      JASON HITT
 6                                    Assistant United States Attorney
                                      Attorney for Plaintiff
 7
                                      United States of America
 8

 9 Dated: October 27, 2017            By:          /s/
                                      DONALD M. RÉ
10                                    Attorney for Defendant
11                                    HUNG CAO NGUYEN

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 1                                             ORDER

 2         IT IS HEREBY ORDERED that:

 3         The sentencing in this matter is continued from November 7, 2017 at 9:15 a.m. to January

 4 16, 2018 at 9:15 a.m. in Courtroom 6, with the following schedule:

 5
           Motion for Correction of the Presentence Report:                  January 2, 2018
 6
           Reply, or Statement of Non-Opposition to Motion for Correction: January 9, 2018
 7
           Defendant’s Position Re Sentencing Factors:                       January 9, 2018
 8
           IT IS SO ORDERED.
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10 DATED: 10/27/2017                           /s/ John A. Mendez________________________
                                               HONORABLE JOHN A. MENDEZ
11                                             UNITED STATES DISTRICT COURT JUDGE
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